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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


                                                    MDL No. 1:15-md-2657-FDS
 IN RE : ZOFRAN® (ONDANSETRON)
 PRODUCTS LIABILITY LITIGATION

 This document relates to: All Actions



                       GLAXOSMITHKLINE LLC’S
           MOTION TO COMPEL TESTIMONY FROM DR. CAROL LOUIK

       GlaxoSmithKline LLC moves for entry of an Order compelling Plaintiffs’ only expert

epidemiologist, Dr. Carol Louik, to provide further testimony through a targeted deposition.

Alternatively, GSK asks the Court to order Dr. Louik to appear live at the Daubert hearing. For all

of the reasons stated in the accompanying Memorandum in Support, GSK respectfully requests

that the Court grant its Motion.




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                         LOCAL RULE 7.1(A)(2) CERTIFICATION

       Pursuant to Local Rule 7.1(A)(2), the undersigned counsel hereby certifies that counsel for

the parties have met and conferred in a good faith effort to narrow the issues of dispute without

success.

Dated: March 6, 2019


                                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document, which was filed with the Court through the
CM/ECF system, will be sent electronically to all registered participants as identified on the Notice
of Electronic Filing (“NEF”) and paper copies will be sent via first class mail to those identified
as non-registered participants.

                                             /s/ Jennifer Stonecipher Hill
                                             Jennifer Stonecipher Hill




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